Case 14-60041 Document 1024 Filed in TXSB on 07/19/18 Page 1 of 6

UNI'I`ED STATES BANKRUPTCY COURT
SOUTH]ERN AND WESTERN DISTRICTS OF TEXAS

IN RE: §

§ s
Buccaneer Resourcesl LLC et a|. § CASE NO. 14-60041
{See Note A) § Substantive|y Consolidated (See Note A )
DEBTOR § CHAPTER 11 ~

§

CHAPTER 11 POST~CONF]RMATION REPORT
FOR THE QUARTER ENDING June 30, 2018
1. X Quarterly or Final (check one)

2. SUMMARY OF DISBURSEMENTS*:

 

A. Disbursements made by the Administrative Claims Disbursing Agent N/A (See Note C)
B. Disbursements made by the Liquidating Trust n $ 3,875,524.64
Total Disbursements $ l 3,875,524.64

*ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR, UNDER THE PLAN OR OTHERWISE, MUST BE
ACCOUNTED FOR AND REPORTED HEREIN FOR THE PURPOSE OF CALCULAT]NG THE QUARTERLY FEES.

3. Has the order confirming plan become tinal? Yes No -Yes |:|No

Are Plan payments being made as required under the Plan? Yes No -Yes |:|No

:'*

5. If "No", what Plan payments have not been made and why?
Please explain:

 

 

6. lf plan payments have not yet begun, when will the first plan payment be made? (Date)

7. What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the property
treated under the plan? March 13l 2015 (See Note B)

8. Please describe any factors which may materially affect your ability to obtain a final decree at this time.

 

 

9. Complete the form for Plan Disbursements attached.

10. CONSUMMATION OF PLAN:

 

 

 

A. Ifthis is a final report, has an application for Final Decree been submitted*? - INHIALS
\:\ Yes Date when application was submitted - DATE
[:] No Date when application will be submitted UST USE ONLY

 

*(if required by Local Rulc)
B. Estimated Date of Final Payment Under Plan TBD

I CERTIFY UNDER PENALTY OF PERJURY THAT THE ABOVE ]NFORMATION IS TRUE AND CORRECT TO THE
BEST OF MY IUOWLEDGE. z

LF ' f
sIGNED: ¢\/L z DATE: 71 \‘\ g ZO\S

leff Compton

as Liquidating Trustee

(See Attached Notes)

lN RE:

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CHAPTER 11 POST~CONF|R|V|AT|ON REPORT
FOR THE QUARTER END|NG lune 30, 2018

Buccaneer Resources, LLC et al. CASE NO. 14-60041

DEBTOR

NOTES:

Note A: Under the Plan, the following Debtors have been substantively consolidated, including for purposes of distributions:

 

VCase No. l

14-60041
14-60042
14-60043
14-60044
14-60045
14-60046
14-60047
14-60048
14-60049

Entiry |
Buccaneer Resources, LLC
Buccaneer Energy Limited
Buccaneer Energy Holdings, lnc.
Buccaneer Alaska Operations, LLC \
Buccaneer A|aska, LLC
Kenai Land Ventures, LLC
Buccaneer Alaska Drilling, LLC
Buccaneer Royalties, LLC
Kenai Dril|ing, LLC

Note B: The Plan became effective, and the Liquidating Trust Was funded l\/larch 13, 2015.

Note C: Pursuant to Court Order entered October 18, 2016, the Disbursing Agent of the Administrative Claims account transferred the balance
remaining in the Administrative Claims account to Porter Hedges, LP, counsel for AlX to be held in trust for the benefit of AlX, pending further
order of the Court. [See Docket 1000] A final report on behalf of the Disbursing Agent of the Administrative C|aims account was filed in

QZ 2017.

  

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INRE; BUCCANEER RESOURCES LLC et al. CASE NO. 14-60041
PER LIQU]])ATING TRUST

cAsH RECEIFrs AND nIsBuRsEMENTs CONFIRMATION TO

CASH-BEG].NNI`NG OF

NET PAYROLL

PAYROLL TA)GES PAB)

SECURED/RENTAL/LEASES

UTILITIES

INSURANCE

I.`NVENTORY PURCHASES

VEH]CLE EXPENSES

TRAVEL & ENTERTA]NMENT

REP MAIN'I`ENANCE & SUPPLI]ES

ADMINISTRA'I'IVE & SELLH\IG

OTHER attach

PLAN PAYMENTS 3

TOTAL DISBURSEMENTS (this figure should equal Tota.l disbursements,
of Disbursements

NET FLOW

   
 

(See Note ])
ALL MARCH
Month/Y ear Month/Year Month/Y ear
04/2018 05/2018 06/2018
Liquidating Liquidating Liquidating
Trust Trust Trust
Texas Capital Bank Texas Capital Bank Texas Capital Bank
xxxxxx6217
Bank Balance 42 467.61
in Transit - -
Checks

Cash~Per Books

Transfers Between Accounts 721.45 Note 1)
Checks/Other Disbursements
Note 1)

OF AND
Month/V ear Month/Y ear Month/Y ear
04/2018 05/2018 06/2018
Liquidating Liquidating Liquidating
Trust Trust Trust
Texas Capita| Bank Texas Capital Bank Texas Capita| Bank

xxxxxx5217 xxxxxx6217
Cash
Total Tra.nsfers 721.45 90.00
Total Disbursements Transfers

 

Note l: The Liq uidating Trust also holds the following investment accounts

Market Va|ue

investment Account on 6[30[2018
ML Account # XXX~XX481 $ 430.68 (Holds investments in a US Treasury Fund)
$ 430.68

ML investment account XXX-XX254 was funded with cash transfers from Texas Capita| Bank Account xx6217. On September 23, 2016, $2,740,330.85
was transferred from ML investment account XXX~XX254 to ML investment account XXX-XX481.

Schedu|e of Cash Tiansfers in/(out) of |nvestment Accounts:

Ql 2015 $ 9,750,000.00
Q4 2015 $ (200,000.00)
02 2016 $ 2,675,000.00 includes $275k directly into the investment account
03 2015 $ (soo,ooo.oo)
01 2017 $ (3,020,000.00)
Q3 2017 $ (7,739,048.24)
Q4 2017 $ (100,000.00)
Ql 2018 $ (803,721.45)
$ (37,769.69)

Cash transferred from Texas Capita| Bank account xx6217 to the investment accounts is used to purchase investments held by the Liquidating Trust and is not considered
a disbursement out of the Liquidating Trust. |n addition, after investments are purchased the funds are no longer considered cash, but Liquidating Trust owned investments.
Cumu|ative transfers out of investment accounts exceed transfers in due to investment income realized on investments.

We are reporting the cash activity, exclusive of investment earnings, in the table abave. The amount of cash and cash equivalents as of.lune 30, 2018 totals $176,137.25.

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IN RE:

Buccaneer Resources, LLC et al.

CASE NO. 14-60041 §Jointly Administered[

W>¢o)w¢¢o§

DEBTOR

PAYMENTS TO CREDITORS UNDER THE PLAN
BY THE LIQUIDATING TRUST

CONFIRMATION
TO DATE

Advance Unsecured 35.87 150.45
AFLAC ` Unsecured 135.11 566.68
A|i\/|iV| Tech lnc. Unsecured 24 606.48 103 .76
Air America LP Unsecured 487.35 .04
Ai USA LLC Unsecu red 48.94 205.27
Unsecured 4 4.65
Alan Stein Admin - 495.58
Alaska's Best Water Unsecured - 27.08
Alaska Communications Unsecured 942.15
Alaska industrial Unsecured 40.24
Alaska Rubber and . Unsecured
Alaska Waste Unsecured 249.56
Sales & Service Unsecured 443.07
Standards . Unsecured 19.09
Archer LLC Unsecured 73
Archer & Unsecured 3.91
Arctic Wire and Unsecured 717.68
ASRC Services Unsecured 60
AT&T Unsecured 172.69
Unsecured ‘ 3 722.62
Baker Botts LLP Admin 513 779.04
Baker Botts LLP Unsecured . 714.65
LLC Unsecured 861.25
Benef`its LLC Unsecured 78.75
Scott P. Unsecured . 103 .19
Best Western Bidarka inn Unsecured 3 682.83
G Electric & lnc.
Services Ltd Unsecured
lnc. Unsecured
Brice LLC - 003 Unsecured
Bud Griffin Customer Unsecured
CAD Control Unsecured
Canaccord Gen Austra|ia Limited Unsecured
Can T Ltd. Unsecured
l Partners LLP Unsecured
Clarion Events LTD Unsecured
Coffman Unsecured
Commercial & inc Unsecured
Com of Public Accounts
Services Ltd Unsecured
Conam Construction Com Unsecured
ConocoPhi| Unsecured
Cook inlet LLC Unsecured
Cook inlet Citizens Cou Unsecured
Crowell & Nl LLP Unsecured 124 465.3
Darrel J. Gardner and several co-c Unsecured 14
David Fulton Unsecured
Dish Network LLC Unsecured
David l. Unsecured

 

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l\/chowe|l &
Edward Ramirez
Services international
ERA LLC
Farouk
lnc.
Fire Controi lnc.
Five Star Oilfieid Services
Forum lnc.
Frank's Crew and Rental T inc
Gavin Wilson
Dean
GE Barbi iViartin
General Communications inc
GeoCenter LP

G

Wori<s

T

Guifstream G LLC
Harris et al
Hartman income REiT

and LLP

& Boone LLP

LLC
Hole
Homer Electric Association
Homer Services
Associates

lHS GLOBAL |NC.
i|iamna Air T lnc.
industrial instrument inc
internal Revenue Service
international Ventures LLC

7J.ames#s;wan- --~-~» ~»-

leffries Credit Product sfrf
JiViR Advisors
liV|R Worldwide
Kenai Offshore V LLC
Konica Minolta Business Solutions USA inc
Konica Minolta Premier Finance
Consultants in Alaska
Communications
Richard R.
lV|acG lnc.
Tec Alaska LLC
Alaska
i\/iaritime lnc.
i\/iar|in Business Bank
iVletson B|ue Water
lVi-I LLC
|V|o||er Brian
i\/ioore & i\/|oore

Steel inc '
National Oilwel| Varco
Noi‘thern G
NOV T

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CURRENT
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.22

3 654.42
402.53
427.34

.47
59 68
.09

93.20

33 458.46

CONFIRMATION

TO DATE

5763.54
7 .19
26.04
7 4.72
15 27.41
688.31
792.36
169.32
404 .81
1.48
247 .65
9 9.27

43
.74
160.44
194.57
78.02

124
491.07

5
140 1.83
227 775.71

9
.10
4637.70
7 688.59
832.24
3 4.25
4748.7
555.81
61.23

28.
13

 

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O’Brien's
Odin LLC
Services Ltd
Pacific Pi|e & i\/ia L.P.
Pason Offshore
Patrick O‘Connor
Paul Hasti LLP
PCNET Comm
Peninsula
Petroleum
Petroleum & lnc.
Phoenix & Personne| inc
Bowes
PJK Trucki
Pollard E-Line
Port Graham
Giobal
ProStar lnc.
Rain for Rent Alaska
E. Davis Associates lnc.
Services LLC
ScoNet int.
Seismic lnc.
Sheek Offshore Services
SLP Alaska
SolstenXP lnc.
& Sierra
Branch |SD
Starichkof
State of Alaska - of Environme
State of Alaska - of Environmental C
State of Division of
Stellar Oil & LLC
Steven i\/i. W P.C. and several
Resources LLC ~ ¢~
Teras Oiif`ield Limited
Terrasond Precision Solutions
T lnc.
Tesoro
Time Warner Cabie
Total Ofi`ice Products
Total US lnc.
United Renta|s North America lnc.
U.S. District Clerk
Velocis Echo LP
Park
Alaska LLC
Warrior Limited Pa
Weatherford US LP
Wex Bank
Wi|liam A||en H
Wi|iis of Texas lnc.
LLC.
Business Prod lnc.
XTO lnc.
Zentech

TOTAL PLAN PAYMENTS: (report on page 2)

Unsecured
Unsecured
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Admin
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CURRENT
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4

.96

7.33
729.50

4 680.91
817.30

4 7.28
450.62
48.10
288.22

47

84.
35

13 422.5

CONFIRMATION
TO DATE

723.84
.18
216.68

67 4.12
14 .07
322.47

3 7.59
3 .95
240.80

1 148.87
9 1
9 49

4 .66
4
4 .45
9.33
75.26
72
448.12
19 2.73
3 427.92
17 688.17
449.75
253.48

79.46
770.79
512.74

1.63
510.14

72.40

611.26

 

